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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

ICON HEALTH & FITNESS, INC.,                    §
                                                §
                       Plaintiff,               §
                                                §      Civil Action No. 4:11-CV-271
v.                                              §
                                                §
SOURCE NETWORK SALES &                          §      JUDGE RON CLARK
MARKETING, INC.,                                §
                                                §
                       Defendant.               §

                                    ORDER OF DISMISSAL

       Before the court is the parties’ Joint Stipulation of Dismissal pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii). The court is of the opinion that the stipulation should be entered, and Plaintiff’s

claims dismissed.

       IT IS THEREFORE ORDERED that Plaintiff ICON Health & Fitness, Inc.’s claims against

Defendant Source Network Sales and Marketing, Inc., are DISMISSED WITH PREJUDICE. Unless

the parties have agreed otherwise, costs shall be borne by the party incurring the same.

            So ORDERED and SIGNED this 26 day of August, 2011.




                                                          ___________________________________
                                                          Ron Clark, United States District Judge
